
*381OPINION.
Graupner:
The taxpayer contends that, as the copartnership was organized under “ The Uniform Limited Partnership Act ” of Pennsylvania (P. L. 1917, p. 55) and the liability of Buchmiller under the • articles of copartnership was limited, the reorganization, in so far as he was concerned, can not be distinguished from that of *382a reorganization by change of assets from one corporation to another, even though the taxpayer did not receive stock or securities as evidence of his interest. The taxpayer has not sought to assist this Board by filing a brief in support of his contention. As we read the statute, the fact that Buclimiller was a limited partner does not in any way 'alter his ownership in the partnership assets. His interest therein was not represented by certificates or shares of stock. Upon distribution of the assets to the copartnership the ownership passed from that of an artificial legal entity to the direct personal joint ownership of the two partners, a condition the result of which, in legal effect, is identical with that shown in Appeal of E. C. Huffman, 1 B. T. A. 52.
This condition did not place the taxpayer in the same position under section 202(b) of the Revenue Act of 1918 as he would have been placed in had the distribution under reorganization been from one corporation to another and he had received stock or securities of the second corporation of no greater aggregate par or face value than those he had held in the dissolved corporation. In this case he received a direct ownership in the corporate assets distributed and his share exceeded its March 1, 1913, value by $18,625.72.
